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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
MARCUS R. SMITH,
Plaintiff, CASE NO.:
vs. DEMAND FOR JURY TRIAL

SOFT LENDING CORP.,

NAVY FEDERAL CREDIT UNION,

TRUIST BANK d/b/a LIGHTSTREAM BANK,

HSBC BANK USA NA, HSBC INSURANCE

HOLDINGS LIMITED, PROSPER MARKETPLACE, INC.
EXPERIAN INFORMATION SOLUTIONS, INC.,
TRANSUNION, LLC, and

EQUIFAX INFORMATION SERVICES, LLC,

Defendants.

COMPLAINT

COMES NOW Plaintiff, Marcus R. Smith, (“Plaintiff’), by and through
undersigned counsel, and files this Complaint against Defendants, Sofi Lending
Corp.(“SOFT”), Navy Federal Credit Union (“NFCU”), Truist Bank d/b/a
Lightstream Bank (“Truist”), HSBC Bank USA NA (HSBC Bank), HSBC Insurance
Holdings Limited (“HSBC Insurance”), Prosper Marketplace, Inc. (“Prosper”),
Experian Information Solutions, Inc., (“Experian”), TransUnion, LLC,

(“TransUnion”) and Equifax Information Services, LLC (“Equifax”) and alleges:
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I. PARTIES
Plaintiff is a natural person, a resident of Orange County, Florida, and a
“consumer” as defined by 15 U.S.C. § 1681a (c) of the FCRA. In addition,
Plaintiff is a consumer as that term is defined by the FDCPA.
Defendant Experian is an Ohio corporation with its principal place of
business located at 475 Anton Boulevard, Costa Mesa, California 92626 and
is subject to the jurisdiction of this Court.
At all times material Experian is a consumer reporting agency as defined in
15 U.S.C. § 1681a(f) of the FCRA, regularly engaged in the business of
assembling, evaluating, and disseminating information concerning
consumers for the purpose of furnishing consumer reports. Experian
disburses such consumer reports to third parties under contract for
monetary compensation.
Defendant TransUnion is a Delaware limited liability company with its
principal place of business located at 555 West Adams Street, Chicago, IL
60661 and is subject to the jurisdiction of this Court.
At all times material TransUnion is a consumer reporting agency as defined.
in 15 U.S.C. § 1681a(f) of the FCRA, regularly engaged in the business of
assembling, evaluating, and disseminating information concerning
consumers for the purpose of furnishing consumer reports. TransUnion
disburses such consumer reports to third parties under contract for

monetary compensation.
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Defendant Equifax is a Georgia corporation with its principal place of
business located at 1550 Peachiree Street, NW, H-46, Atlanta, GA 30309
and is subject to the jurisdiction of this Court.

At all times material Equifax is a consumer reporting agency as defined in
15 U.S.C. § 1681a(f) of the FCRA, regularly engaged in the business of
assembling, evaluating, and disseminating information concerning
consumers for the purpose of furnishing consumer reports. Equifax
disburses such consumer reports to third parties under contract for
monetary compensation.

Defendant SOFI Lending Corp. (“SOFI”) is a California corporation based in
Cottonwood Heights, UT and is subject to the jurisdiction of this court.
Defendant SOFI Lending Corp. (“SOFI”) is an entity who furnishes
information to consumer reporting agencies as provided in the FCRA, 15
U.S.C. § 1681s-2.

Defendant Navy Federal Credit Union (NFCU) is a credit union based in
Vienna, VA and is subject to the jurisdiction of this court.

Defendant NFCU is an entity who furnishes information to consumer
reporting agencies as provided in the FCRA, 15 U.S.C. § 1681s-2.

Defendant Truist Bank d/b/a Lightstream Bank (“Lightstream”) is a bank
based in Charlotte, North Carolina that does business as the online lender

Lightstream Bank and is subject to the jurisdiction of this court.
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Defendant Lightstream is an entity who furnishes information to consumer
reporting agencies as provided in the FCRA, 15 U.S.C. § 1681s-2.
Defendant HSBC Bank USA, NA is a global bank based in London, England,
UK, with offices in New York, NY, and is subject to the jurisdiction of this
court.
Defendant HSBC Bank USA, NA is an entity who furnishes information to
consumer reporting agencies as provided in the FCRA, 15 U.S.C. § 1681s-2.
Defendant HSBC Insurance Holdings Limited (“HSBC Insurance”) is a
global insurance holdings company with offices in New York, NY, and is
subject to the jurisdiction of this court.
Defendant HSBC Insurance is an entity who furnishes information to
consumer reporting agencies as provided in the FCRA, 15 U.S.C. § 1681s-~2.
Defendant Prosper Marketplace, Inc. (“Prosper”) is a foreign corporation
headquartered in San Francisco, CA and is subject to the jurisdiction of the
Court.
Defendant Prosper is an entity who furnishes information to consumer
reporting agencies as provided in the FCRA, 15 U.S.C. § 1681s-2.

II. JURISDICTION AND VENUE
Jurisdiction of this Court arises under 28 U.S.C. § 13931 and pursuant to the
FCRA, 15 U.S.C. § 1681 et seg. and pursuant to 28 U.S.C. § 1367 for pendent

state law claims.
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Venue is proper in this District because the acts and transactions occurred
here, Plaintiff resides here, and the Defendants transact business here
pursuant to the FCRA, 15 U.S.C. § 1681p and 28 U.S.C. § 1391.

TI. FACTUAL ALLEGATIONS
Plaintiff is a victim of an extensive identity theft operation operated by
several individuals using multiple aliases.
Plaintiff applied for employment through a posting on Medreps.com for a
business development position. Posing as an agent of the employer, “Vincent
Wetzel” replied to his job application and interviewed Plaintiff for the
alleged position. He told Plaintiff that he could help them with business
funding in his local community. Plaintiff was told that once the projects were
funded and finalized, he would be paid through commissions.
Vincent Wetzel introduced Plaintiff to “Matthew Carter” who works for “Ted
Chen” (a/k/a Albert Lugene) and “Jeff Lucine” (a/k/a Steve Tetsuya
Morizono). Matthew Carter talked about also boosting Plaintiff's credit score
and clearing out credit inquiries. Matthew Carter told Plaintiff he needed his
driver’s license, social security card and checking account information as
part of the hiring process.
Unbeknownst to the Plaintiff, in June 2020, “Matthew Carter”, “Ted Chen”
and “Jeff Lucine” got on a VPN (virtual private network) and opened five
loans using Plaintiffs personal information. The fraudulent loans were:

HSBC Bank (Acct No. 782414920403206-8); Truist Bank d/b/a
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Lightstream Bank (Acct No. 11777460; Prosper Bank (Acct No. 1422338;
Navy Federal Credit Union (Acct No. 14410713); and SoFi Bank (Acct No.
L4-7797).

These loans were never authorized by Plaintiff.

The loans were funneled through his checking account and sent by the
aforementioned fraudsters to some escrow account unknown to him.

After Plaintiff discovered the identity theft and fraud he contacted the U.S.
Department of Justice, Federal Bureau of Investigation in November 2020
and received FBI confirmation of being a victim of this financial crime on
November 10, 2022. Per the FBI’s suggestion, Plaintiff also filed an Identity
Theft Report on November 17, 2022 with the Orange County Sheriff's Office.
Plaintiff also completed an Identity Theft Victim’s Complaint and Affidavit
prepared by the Federal Trade Commission. This Affidavit lists the account
number, balance, and opening date for each fraudulent account.

In addition, Plaintiff also identified Chen, Jeff, and Phillips as the fraudsters.
Plaintiff was unfortunately forced to make significant payments towards
these fraudulent debts.

Plaintiff eventually learned the fraudsters had defrauded approximately
100 — 500 individuals for a total of over $19,000,000.00.

This investigation eventually led to the prosecution of the fraud ring in the
matter of United States of America v. Albert Lugene Lim a.k.a Ted Chen, (S.

D. Texas, Case No.: 22-cv-33).
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Plaintiff began disputing the various fraudulent accounts in or around
March 1, 2023.

These disputes included written and telephonic disputes directly to the
furnishers as well as indirect disputes submitted to the Credit Bureaus.

In each dispute, including Plaintiffs most recent disputes dated May, June,
and September 2024, Plaintiff explained that he is the victim of identity theft
and demanded that each of the furnisher’s accounts be deleted.

Plaintiff also provided extensive documentation to support Plaintiffs
disputes, including:

a. The FBI’s Victim Identification Letter;

b. The Second Superseding Indictment filed in the Southern
District of Texas against Lim AKA Ted Chen and the other
fraudsters;

c The FTC Identity Theft Report; and

d. The Orange County Police Report.

Despite receipt of Plaintiffs disputes, Defendants continued inaccurate
credit reporting regarding the fraudulent debts to Plaintiff's credit reports.
To date, the Furnishers inaccurate credit reporting remains on Plaintiff's
Credit Reports.

The Credit Bureaus did not provide notice to Plaintiff that Plaintiffs
dispute was “frivolous or irrelevant,” pursuant to 15 U.S.C. § 16811(a)(3).

Defendants’ investigations were unreasonable.
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More specifically, the Furnishers should have discovered from their own
records, including Plaintiffs formal dispute, that the information being
reported was inaccurate and materially misleading.

Plaintiff contends that it was unreasonable to not contact Plaintiff for
further information if needed; to not contact the Orange County Sheriffs

Office Department; to not contact the Federal Bureau of Investigation; and,
to not contact any persons connected to the prosecution of the fraudsters.
Defendants’ conduct has caused Plaintiff pecuniary loss.

Defendants’ conduct has caused Plaintiff emotional distress.

Plaintiff has spent countless hours disputing this inaccurate information
with Defendants in an attempt to provide any and all information needed
for the investigations.

While Plaintiff was thorough in Plaintiffs disputes at all times, each
Defendant merely responded with form letters that failed to take into
account any of the specifics identified in Plaintiffs disputes.

Plaintiff's anxiety; frustration; stress; lack of sleep; nervousness; anger;
and embarrassment continue to this day because these large charge-offs
mischaracterize Plaintiff as someone that avoids Plaintiffs financial
obligations and significantly harms Plaintiffs credit score.

Moreover, Plaintiff is incredibly concerned that the outstanding debts will

have a direct impact on Plaintiffs employment.
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Despite Plaintiff's repeated attempts, Defendants continue to report
fraudulent debts to Plaintiff's credit report.

As a direct and proximate result of Defendants’ willful action and inaction,
Plaintiff has suffered actual damages, including, but not limited to,
reviewing credit reports, preparing and mailing dispute letters, attorneys’
fees, loss of credit, loss of ability to purchase and benefit from credit,
increased costs for credit, mental and emotional pain and anguish, and
humiliation and embarrassment of credit denials. Plaintiff has further
spent countless hours and suffered pecuniary loss in attempting to correct
Defendants’ inaccurate and derogatory information, without success.
Based upon the discussion above, Plaintiff contends that punitive damages
are available to Plaintiff.

By intentionally reporting continuing obligations, Defendants acted in
conscious disregard for Plaintiffs rights.

To report an ongoing obligation despite the fraudulent nature of these
accounts shows that Defendants took action involving an unjustifiably high
risk of harm that was either known or so obvious that it should be known.
The continued pursuit of Plaintiff through direct collection efforts and
credit reporting despite the fraudulent nature of these accounts shows that
the Furnishers took action involving an unjustifiably high risk of harm that

was either known or so obvious that it should be known.
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Since Plaintiff's efforts to be absolved of the fraudulent debts were
unsuccessful, Plaintiff was required to bring this action to finally resolve
Plaintiffs remaining disputes.
Prior to February 2024, the Prosper Bank loan was sold to Crown Asset.
Crown Asset filed a collection lawsuit against Plaintiff on February 26, 2024
in Orange County, Florida (Case No. 2023-CC-4108). Crown Asset was
aware that Plaintiff was a victim of criminal id theft and did not owe the
Prosper debt yet, nevertheless, has pursued collection against Plaintiff.
In addition, Defendant Lightstream filed a collection lawsuit against
Plaintiff on October 7, 2022 in Orange County, Florida (Case No. 2022-CA-
009225-QO). Lightstream is still actively pursuing this debt despite being
aware that Plaintiff was a victim of criminal id theft and does not owe the
Lightstream debt.
Plaintiff retained undersigned counsel for the purpose of pursuing this
matter against Defendants and Plaintiff is obligated to pay his attorneys a
reasonable fee for their services.
All necessary conditions precedent to the filing of this action occurred or
Defendants have been waived.
COUNTI
VIOLATIONS OF THE FCRA
(SOFI LENDING CORP)

Plaintiff incorporates Paragraph 1-61 above as if fully stated herein.

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SOFT has willfully and/or negligently violated the provisions of the FCRA by
willfully and/or negligently failing to comport with FCRA, 15 U.S.C. § 1681s-
2(b).

Specifically, SOFI violated 15 U.S.C. § 1681s-2(b) by failing to conduct a
reasonable investigation of disputed information, by failing to review all
relevant information provided by the consumer reporting agency, by failing
to review Plaintiffs prior dispute letters, prior direct disputes, the
documentation provided, and its own entire file as part of such investigation,
by failing to accurately communicate the results of its investigation to the
consumer reporting agencies, by verifying imaccurate or incomplete
information to a consumer reporting agency as part of a reinvestigation of
such information disputed by Plaintiff and/or by verifying and continuing to
report inaccurate information after notice and confirmation of those errors.
Further, SOFT violated 15 U.S.C. § 1681s-2(b) by failing to promptly modify,
delete or permanently block information disputed by Plaintiff which it knew
or reasonably should have known was inaccurate, obsolete and/or
incomplete.

Following the reinvestigation and dispatch of direct notice to SOFI, who
failed to notify the consumer reporting agencies to whom it reported credit
information that the debts were disputed, in violation of the FCRA, 15 U.S.C.
§§ 1681s-2(b) the general duties implied to all conduct of furnishers under

15 U.S.C. § 1681s-2(a)(3).

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SOFTI’s reinvestigation was not conducted in good faith.

SOFT's reinvestigation was not conducted reasonably.

SOFT’s reinvestigation was not conducted using all information reasonably
available to the Defendant.

SOFT’s reinvestigation was per se deficient by reason of these failures in its
reinvestigation of the trade line on Plaintiff's consumer report in light of
information it already had and multiple disputes with the credit bureaus and
because of the use of the “data conformity” method of investigation.

SOF?’s actions in violating the FCRA, 15 U.S.C. § 1681s-2(b) constituted
willful and/or negligent noncompliance with the FCRA, and entitles Plaintiff
to actual damages enumerated in 15 U.S.C. § 16810 and/or 15 U.S.C. § 168i1n.
SOFT has violated 15 U.S.C. § 1681s-2(a)(1)(A) (“A person shall not furnish
any information relating to a consumer to any consumer reporting agency if
the person knows or has reasonable cause to believe that the information is
inaccurate”).

SOFT had actual knowledge of the fraud and identity theft claims made by
Plaintiff relating to an account with Defendant.

SOFI had received multiple disputes from the bureaus to find that this
account was fraudulent. In light of the fraud report related to the account,

SOFI still reported the account balance as accurate.

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Despite having all the information available to it as the other credit bureaus,
the Defendant still verified unverifiable information in violation of 15
U.S.C. § 1681s-2{a)(1)(A).

As a result of SOFI!’s conduct, actions, and inactions, Plaintiff has suffered
emotional distress, humiliation, mental anguish and damages to his
creditworthiness.

SOFT’s actions and inactions are willful, rendering it liable for actual or
statutory damages, and punitive damages in an amount to be determined by
the Court pursuant to 15 USC § 1681n. In the alternative, these actions were
grossly negligent entitling Plaintiff to recover actual damages under 15 USC
§ 16810.

Plaintiff is entitled to recover costs and attorney fees from SOFI in an
amount to be determined by the Court pursuant to 15 U.S.C. §1681n and/or
816810.

WHEREFORE, Plaintiff prays that the Court grant the following relief in
favor of Plaintiff and against SOFT:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

d) For punitive damages;

e) For attorney’s fees and costs incurred in this action;

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f) For an Order directing that Defendant immediately delete all of the
inaccurate information from Plaintiff's credit reports and files and cease
reporting the inaccurate information to any and all persons and entities to
whom they report consumer credit information; and

g) For such other and further relief as the Court may deem just and
proper.

COUNT II
VIOLATIONS OF THE FCRA

(NECU)

Plaintiff incorporates Paragraph 1-61 above as if fully stated herein.

NFCU has willfully and/or negligently violated the provisions of the FCRA
by willfully and/or negligently failing to comport with FCRA, 15 U.S.C. §
1681s-2(b).

Specifically, NFCU violated 15 U.S.C. § 1681s~-2(b) by failing to conduct a
reasonable investigation of disputed information, by failing to review all
relevant information provided by the consumer reporting agency, by failing
to review Plaintiffs prior dispute letters, prior direct disputes, the
documentation provided, and its own entire file as part of such investigation,
by failing to accurately communicate the results of its investigation to the
consumer reporting agencies, by verifying inaccurate or incomplete
information to a consumer reporting agency as part of a reinvestigation of
such information disputed by Plaintiff and/or by verifying and continuing to

report inaccurate information after notice and confirmation of those errors.

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Further, NFCU violated 15 U.S.C. § 1681s-2(b) by failing to promptly modify,
delete or permanently block information disputed by Plaintiff which it knew
or reasonably should have known was inaccurate, obsolete and/or
incomplete.

Following the reinvestigation and dispatch of direct notice to NFCU, who
failed to notify the consumer reporting agencies to whom it reported credit
information that the debts were disputed, in violation of the FCRA, 15 U.S.C.
§§ 1681s-2(b) the general duties implied to all conduct of furnishers under
15 U.S.C. § 1681s-2(a)(3).

NFCU’s reinvestigation was not conducted in good faith.

NFCU’s reinvestigation was not conducted reasonably.

NFCU’s reinvestigation was not conducted using all information reasonably
available to the Defendant.

NFCU’s reinvestigation was per se deficient by reason of these failures in its
reinvestigation of the trade line on Plaintiffs consumer report in light of
information it already had and multiple disputes with the credit bureaus and
because of the use of the “data conformity” method of investigation.
NFCU’s actions in violating the FCRA, 15 U.S.C. § 1681s~2(b) constituted
willful and/or negligent noncompliance with the FCRA, and entitles Plaintiff
to actual damages enumerated in 15 U.S.C. § 16810 and/or 15 U.S.C. § 1681n.
NFCU has violated 15 U.S.C. § 1681s-2(a)(1)(A) (“A person shall not furnish

any information relating to a consumer to any consumer reporting agency if

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the person knows or has reasonable cause to believe that the information is
inaccurate”),

NFCU had actual knowledge of the fraud and identity theft claims made by
Plaintiff relating to an account with Defendant.

NFCU had received multiple disputes from the bureaus to find that this
account was fraudulent. In light of the fraud report related to the account,
NFCU still reported the account balance as accurate.

Despite having all the information available to it as the other credit bureaus,
the Defendant still verified unverifiable information in violation of 15
U.S.C. § 1681s-2(a)(1)(A).

As a result of NFCU’s conduct, actions, and inactions, Plaintiff has suffered
emotional distress, humiliation, mental anguish and damages to his
creditworthiness.

NFCU’s actions and inactions are willful, rendering it liable for actual or
statutory damages, and punitive damages in an amount to be determined by
the Court pursuant to 15 USC § 1681n. In the alternative, these actions were
grossly negligent entitling Plaintiff to recover actual damages under 15 USC
§ 16810.

Plaintiff is entitled to recover costs and attorney fees from NFCU in an

amount to be determined by the Court pursuant to 15 U.S.C. §1681n and/or

§16810.

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WHEREFORE, Plaintiff prays that the Court grant the following relief in
favor of Plaintiff and against NFCU:
a) For actual damages;
b) For compensatory damages;
c) For statutory damages;
d) For punitive damages;
e) For attorney's fees and costs incurred in this action;
f) For an Order directing that Defendant immediately delete all of the
Inaccurate information from Plaintiffs credit reports and files and cease
reporting the inaccurate information to any and all persons and entities to
whom they report consumer credit information; and
g) For such other and further relief as the Court may deem just and
proper.

COUNT IIT

VIOLATIONS OF THE FCRA
(LIGHTSTREAM)

Plaintiff incorporates Paragraph 1-61 above as if fully stated herein.
LIGHTSTREAM has willfully and/or negligently violated the provisions of
the FCRA by willfully and/or negligently failing to comport with FCRA, 15
U.S.C, § 1681is-2(b).

Specifically, LIGHTSTREAM violated 15 U.S.C. § 1681s-2(b) by failing to
conduct a reasonable investigation of disputed information, by failing to

review all relevant information provided by the consumer reporting agency,

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by failing to review Plaintiffs prior dispute letters, prior direct disputes, the
documentation provided, and its own entire file as part of such investigation,
by failing to accurately communicate the results of its investigation to the
consumer reporting agencies, by verifying inaccurate or incomplete
information to a consumer reporting agency as part of a reinvestigation of
such information disputed by Plaintiff and/or by verifying and continuing to
report inaccurate information after notice and confirmation of those errors.
Further, LIGHTSTREAM violated 15 U.S.C. § 1681s-2(b) by failing to
promptly modify, delete or permanently block information disputed by
Plaintiff which it knew or reasonably should have known was inaccurate,
obsolete and/or incomplete.

Following the reinvestigation and dispatch of direct notice to
LIGHTSTREAM, who failed to notify the consumer reporting agencies to
whom it reported credit information that the debts were disputed, in
violation of the FCRA, 15 U.S.C. §§ 1681s-2(b) the general duties implied to
all conduct of furnishers under 15 U.S.C. § 1681s-2{a)(3).

LIGHTSTREAW’s reinvestigation was not conducted in good faith.
LIGHTSTREAWM’s reinvestigation was not conducted reasonably.
LIGHTSTREAM’s reinvestigation was not conducted using all information
reasonably available to the Defendant.

LIGHTSTREAM’s reinvestigation was per se deficient by reason of these

failures in its reinvestigation of the trade line on Plaintiff's consumer report

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in light of information it already had and multiple disputes with the credit
bureaus and because of the use of the “data conformity” method of
investigation.

LIGHTSTREAM’s actions in violating the FCRA, 15 U.S.C. § 1681s-2(b)
constituted willful and/or negligent noncompliance with the FCRA, and
entitles Plaintiff to actual damages enumerated in 15 U.S.C. § 16810 and/or
15 U.S.C. § 168in.

LIGHTSTREAM has violated 15 U.S.C. § 1681s-2(a)(1)(A) (“A person shall
not furnish any information relating to a consumer to any consumer
reporting agency if the person knows or has reasonable cause to believe that
the information is inaccurate”).

LIGHTSTREAM had actual knowledge of the fraud and identity theft claims
made by Plaintiff relating to an account with Defendant.

LIGHTSTREAM had received multiple disputes from the bureaus to find
that this account was fraudulent. In light of the fraud report related to the
account, LIGHTSTREAM still reported the account balance as
accurate.

Despite having all the information available to it as the other credit bureaus,
the Defendant still verified unverifiable information in violation of 15

U.S.C. § 1681s-2(a)(1)(A).

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As a result of LIGHTSTREAM’s conduct, actions, and inactions, Plaintiff has
suffered emotional distress, humiliation, mental anguish and damages to his
creditworthiness.

LIGHTSTREAM’s actions and inactions are willful, rendering it liable for
actual or statutory damages, and punitive damages in an amount to be
determined by the Court pursuant to 15 USC § 1681n. In the alternative,
these actions were grossly negligent entitling Plaintiff to recover actual
damages under 15 USC § 16810.

Plaintiff is entitled to recover costs and attorney fees from LIGHTSTREAM
in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n
and/or §16810.

WHEREFORE, Plaintiff prays that the Court grant the following relief in
favor of Plaintiff and against LIGHTSTREAM:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

d) For punitive damages;

e) For attorney’s fees and costs incurred in this action;

f) For an Order directing that Defendant immediately delete all of the
inaccurate information from Plaintiff's credit reports and files and cease
reporting the inaccurate information to any and all persons and entities to

whom they report consumer credit information; and

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g) For such other and further relief as the Court may deem just and

proper.

COUNT IV
VIOLATIONS OF THE FCRA

(HSBC BANK USA, NA)

Plaintiff incorporates Paragraph 1-61 above as if fully stated herein.

HSBC has willfully and/or negligently violated the provisions of the FCRA
by willfully and/or negligently failing to comport with FCRA, 15 U.S.C. §
1681s-2(b).

Specifically, HSBC violated 15 U.S.C. § 1681s-2(b) by failing to conduct a
reasonable investigation of disputed information, by failing to review all
relevant information provided by the consumer reporting agency, by failing
to review Plaintiffs prior dispute letters, prior direct disputes, the
documentation provided, and its own entire file as part of such investigation,
by failing to accurately communicate the results of its investigation to the
consumer reporting agencies, by verifying inaccurate or incomplete
information to a consumer reporting agency as part of a reinvestigation of
such information disputed by Plaintiff and/or by verifying and continuing to
report inaccurate information after notice and confirmation of those errors.
Further, HSBC violated 15 U.S.C. § 1681s-2(b) by failing to promptly modify,
delete or permanently block information disputed by Plaintiff which it knew
or reasonably should have known was inaccurate, obsolete and/or

incomplete.

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Following the reinvestigation and dispatch of direct notice to HSBC, who
failed to notify the consumer reporting agencies to whom it reported credit
information that the debts were disputed, in violation of the FCRA, 15 U.S.C.
§§ 1681s-2(b) the general duties implied to all conduct of furnishers under
15 U.S.C. § 1681s-2(a)(3).

HSBC's reinvestigation was not conducted in good faith.

HSBC’s reinvestigation was not conducted reasonably.

HSBC's reinvestigation was not conducted using all information reasonably
available to the Defendant.

HSBC's reinvestigation was per se deficient by reason of these failures in its
reinvestigation of the trade line on Plaintiffs consumer report in light of
information it already had and multiple disputes with the credit bureaus and
because of the use of the “data conformity” method of investigation.
HSBC’s actions in violating the FCRA, 15 U.S.C. § 1681s-2(b) constituted
willful and/or negligent noncompliance with the FCRA, and entitles Plaintiff
to actual damages enumerated in 15 U.S.C. § 16810 and/or 15 U.S.C. § 168in.
HSBC has violated 15 U.S.C. § 1681s-2(a)G)(A) (“A person shall not furnish
any information relating to a consumer to any consumer reporting agency if
the person knows or has reasonable cause to believe that the information is
inaccurate”).

HSBC had actual knowledge of the fraud and identity theft claims made by

Plaintiff relating to an account with Defendant.

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HSBC had received multiple disputes from the bureaus to find that this
account was fraudulent. In light of the fraud report related to the account,
HSBC still reported the account balance as accurate.
Despite having all the information available to it as the other credit bureaus,
the Defendant still verified unverifiable information in violation of 15
U.S.C. § 1681s-2(a)(1)(A).
As a result of HSBC’s conduct, actions, and inactions, Plaintiff has suffered
emotional distress, humiliation, mental anguish and damages to his
creditworthiness.
HSBC’s actions and inactions are willful, rendering it liable for actual or
statutory damages, and punitive damages in an amount to be determined by
the Court pursuant to 15 USC § 1681n. In the alternative, these actions were
grossly negligent entitling Plaintiff to recover actual damages under 15 USC
§ 16810.
Plaintiff is entitled to recover costs and attorney fees from HSBC in an
amount to be determined by the Court pursuant to 15 U.S.C. §1681n and/or
§16810.

WHEREFORE, Plaintiff prays that the Court grant the following
relief in favor of Plaintiff and against HSBC:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

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d) ‘For punitive damages;

e) For attorney's fees and costs incurred in this action;

f) For an Order directing that Defendant immediately delete all of
the inaccurate information from Plaintiff's credit reports and files and cease
reporting the inaccurate information to any and all persons and entities to
whom they report consumer credit information; and

x) For such other and further relief as the Court may deem just
and proper.

COUNT V

VIOLATIONS OF THE FCRA
(HSBC INSURANCE)

Plaintiff incorporates Paragraph 1-61 above as if fully stated herein.

HSBC Insurance has willfully and/or negligently violated the provisions of
the FCRA by willfully and/or negligently failing to comport with FCRA, 15
U.S.C. § 1681s-2(b).

Specifically, HSBC Insurance violated 15 U.S.C. § 1681is-2(b) by failing to
conduct a reasonable investigation of disputed information, by failing to
review all relevant information provided by the consumer reporting agency,
by failing to review Plaintiffs prior dispute letters, prior direct disputes, the
documentation provided, and its own entire file as part of such investigation,
by failing to accurately communicate the results of its investigation to the
consumer reporting agencies, by verifying iaccurate or incomplete

information to a consumer reporting agency as part of a reinvestigation of

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such information disputed by Plaintiff and/or by verifying and continuing to
report inaccurate information after notice and confirmation of those errors.
Further, HSBC Insurance violated 15 U.S.C. § 1681s-2(b) by failing to
promptly modify, delete or permanently block information disputed by
Plaintiff which it knew or reasonably should have known was inaccurate,
obsolete and/or incomplete.

Following the reinvestigation and dispatch of direct notice to HSBC
Insurance, who failed to notify the consumer reporting agencies to whom it
reported credit information that the debts were disputed, in violation of the
FCRA, 15 U.S.C. §§ 1681s-2(b) the general duties implied to all conduct of
furnishers under 15 U.S.C. § 1681s-2(a)(3).

HSBC Insurance’s reinvestigation was not conducted in good faith.

HSBC Insurance’s reinvestigation was not conducted reasonably.

HSBC Insurance’s reinvestigation was not conducted using all information
reasonably available to the Defendant.

HSBC Insurance’s reinvestigation was per se deficient by reason of these
failures in its reinvestigation of the trade line on Plaintiffs consumer report
in light of information it already had and multiple disputes with the credit
bureaus and because of the use of the “data conformity” method of
investigation.

HSBC Insurance’s actions in violating the FCRA, 15 U.S.C. § 1681s-2(b)

constituted willful and/or negligent noncompliance with the FCRA, and

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entitles Plaintiff to actual damages enumerated in 15 U.S.C. § 16810 and/or
15 U.S.C. § 1681n.

HSBC Insurance has violated 15 U.S.C. § 1681s-2(a)(1)(A) (“A person shall
not furnish any information relating to a consumer to any consumer
reporting agency if the person knows or has reasonable cause to believe that
the information is inaccurate”).

HSBC Insurance had actual knowledge of the fraud and identity theft claims
made by Plaintiff relating to an account with Defendant.

HSBC Insurance had received multiple disputes from the bureaus to find
that this account was fraudulent. In light of the fraud report related to the
account, HSBC Insurance still reported the account balance as
accurate.

Despite having all the information available to it as the other credit bureaus,
the Defendant still verified unverifiable information in violation of 15
U.S.C. § 1681s-2(a)(1) (A).

Asa result of HSBC Insurance’s conduct, actions, and inactions, Plaintiff has
suffered emotional distress, humiliation, mental anguish and damages to his
creditworthiness.

HSBC Insurance’s actions and inactions are willful, rendering it liable for
actual or statutory damages, and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n. In the alternative,

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these actions were grossly negligent entitling Plaintiff to recover actual
damages under 15 USC § 16810.

Plaintiff is entitled to recover costs and attorney fees from HSBC Insurance
in an amount to be determined by the Court pursuant to 15 U.S.C. §1681n
and/or §16810.

WHEREFORE, Plaintiff prays that the Court grant the following
relief in favor of Plaintiff and against HSBC Insurance:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

d) For punitive damages;

e) For attorney's fees and costs incurred in this action;

f) For an Order directing that Defendant immediately delete all of
the inaccurate information from Plaintiffs credit reports and files and cease
reporting the inaccurate information to any and all persons and entities to
whom they report consumer credit information; and

g) For such other and further relief as the Court may deem just
and proper.

COUNT VI

VIOLATIONS OF THE FCRA
(PROSPER)

Plaintiff incorporates Paragraph 1-61 above as if fully stated herein.

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148. Prosper has willfully and/or negligently violated the provisions of the FCRA

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by willfully and/or negligently failing to comport with FCRA, 15 U.S.C. §
1681s-2(b).

Specifically, Prosper violated 15 U.S.C. § 168is-2(b) by failing to conduct a
reasonable investigation of disputed information, by failing to review all
relevant information provided by the consumer reporting agency, by failing
to review Plaintiffs prior dispute letters, prior direct disputes, the
documentation provided, and its own entire file as part of such investigation,
by failing to accurately communicate the results of its investigation to the
consumer reporting agencies, by verifying inaccurate or incomplete
information to a consumer reporting agency as part of a reinvestigation of
such information disputed by Plaintiff and/or by verifying and continuing to
report inaccurate information after notice and confirmation of those errors.
Further, Prosper violated 15 U.S.C. § 1681s-2(b) by failing to promptly
modify, delete or permanently block information disputed by Plaintiff which
it knew or reasonably should have known was inaccurate, obsolete and/or
incomplete.

Following the reinvestigation and dispatch of direct notice to HSBC
Insurance, who failed to notify the consumer reporting agencies to whom it
reported credit information that the debts were disputed, in violation of the
FCRA, 15 U.S.C. §§ 1681s-2(b) the general duties implied to all conduct of

furnishers under 15 U.S.C. § 1681s-2(a)(3).

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Prosper’s reinvestigation was not conducted in good faith.

Prosper’s reinvestigation was not conducted reasonably.

Prosper’s reinvestigation was not conducted using all information
reasonably available to the Defendant.

Prosper’s reinvestigation was per se deficient by reason of these failures in
its reinvestigation of the trade line on Plaintiff's consumer report in light of
information it already had and multiple disputes with the credit bureaus and
because of the use of the “data conformity” method of investigation.
Prosper’s actions in violating the FCRA, 15 U.S.C. § 1681s-2(b) constituted
willful and/or negligent noncompliance with the FCRA, and entitles Plaintiff
to actual damages enumerated in 15 U.S.C. § 16810 and/or 15 U.S.C. § 1681n.
Prosper has violated 15 U.S.C. § 1681s-2(a)(1)(A) (“A person shall not furnish
any information relating to a consumer to any consumer reporting agency if
the person knows or has reasonable cause to believe that the information is
inaccurate”).

Prosper had actual knowledge of the fraud and identity theft claims made by
Plaintiff relating to an account with Defendant.

Prosper had received multiple disputes from the bureaus to find that this
account was fraudulent. In light of the fraud report related to the account,

Prosper still reported the account balance as accurate.

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160. Despite having all the information available to it as the other credit bureaus,

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the Defendant still verified unverifiable information in violation of 15
U.S.C. § 1681s-2(a)(4)(A).
As aresult of Prosper’s conduct, actions, and inactions, Plaintiff has suffered
emotional distress, humiliation, mental anguish and damages to his
creditworthiness.
Prosper’s actions and inactions are willful, rendering it liable for actual or
statutory damages, and punitive damages in an amount to be determined by
the Court pursuant to 15 USC § 1681n. In the alternative, these actions were
grossly negligent entitling Plaintiff to recover actual damages under 15 USC
§ 16810.
Plaintiff is entitled to recover costs and attorney fees from Prosper in an
amount to be determined by the Court pursuant to 15 U.S.C. §1681n and/or
§16810.

WHEREFORE, Plaintiff prays that the Court grant the following
relief in favor of Plaintiff and against Prosper Marketplace, Inc.:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

d) For punitive damages;

e) For attorney's fees and costs incurred in this action;

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f) For an Order directing that Defendant immediately delete all of

the inaccurate information from Plaintiff's credit reports and files and cease

reporting the inaccurate information to any and all persons and entities to

whom they report consumer credit information; and

g) For such other and further relief as the Court may deem just

and proper.
COUNT VII
VIOLATIONS OF THE FCRA
15 U.S.C. § 16811
EXPE

164. Plaintiffincorporates paragraph 1 — 61 above as fully stated herein.

165. Experian willfully and/or negligently failed to put in place procedures
to properly reinvestigate consumer claims of inaccuracy in credit
reports.

166. Experian willfully and/or negligently ignored the information
provided to it by Plaintiff and by the results of the other credit report
investigations.

167. Experian willfully and/or negligently refused to properly reinvestigate
Plaintiffs consumer report and the errors stated.

168. Experian willfully and/or negligently violated 15 U.S.C. § 1681i(a)1.

169. Experian willfully and/or negligently violated 15 U.S.C. § 16813 (a)(4).

170. Experian negligently and/or willfully failed to properly consider and

give due weight to all relevant information submitted by Plaintiff in

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the course of the reinvestigation, in violation of the FCRA, 15 U.S.C. §
1681 (a}(4).

Experian willfully and/or negligently violated 15 U.S.C. § 1681i (a)(5).
In response to the request for reinvestigation, Experian improperly
verified the account as correct, and refused to remove the inaccurate
information, in violation of the requirements of the FCRA, 15 U.S.C. §
16811 (a)(5).

Experian has negligently and/or willfully failed to conduct a proper
reinvestigation of the disputed information in violation of the FCRA,
15 U.S.C. §§ 1681.

As noted above, Experian failed to conduct a proper investigation by
wholly ignoring the plain language of Plaintiff's disputes.

Experian’s actions in violating the FCRA constituted negligent and/or
willful noncompliance with the FCRA and entitles Plaintiff to actual
damages, statutory damages, and attorney's fees and costs as
enumerated in 15 U.S.C. §§ 1681n and/or 16810.

Experian’s conduct was a direct and proximate cause, as well as a
substantial factor, in causing serious injuries, damages and harm to
Plaintiff as stated herein, and as a result, Defendant is liable to
compensate Plaintiff for the full amount of statutory and actual
damages, along with attorney's fees and costs, as well as such other

relief as permitted by law.

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WHEREFORE, Plaintiff prays that the Court grant the following relief in
favor of Plaintiff and against Experian:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

d) For attorney’s fees and costs incurred in this action;

e) For an Order directing that Defendant immediately delete all of the
inaccurate information from Plaintiff's credit reports and files and cease reporting
the inaccurate information to any and all persons and entities to whom they report
consumer credit information; and;

f) For such other and further relief as the Court may deem just and
proper.

COUNT Vir
VIOLATIONS OF THE FCRA

15 U.S.C. § 16811
(EQUIFAX)

177. Plaintiff incorporates paragraph 1 — 61 above as fully stated herein.

178. Equifax willfully and/or negligently failed to put in place procedures
to properly reinvestigate consumer claims of inaccuracy in credit
reports.

179. Equifax willfully and/or negligently ignored the information provided
to it by Plaintiff and by the results of the other credit report

investigations.

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Equifax willfully and/or negligently refused to properly reinvestigate
Plaintiffs consumer report and the errors stated.

Equifax willfully and/or negligently violated 15 U.S.C. § 1681i(a)1.
Equifax willfully and/or negligently violated 15 U.S.C. § 16811 (a)(4).
Equifax negligently and/or willfully failed to properly consider and
give due weight to all relevant information submitted by Plaintiff in
the course of the reinvestigation, in violation of the FCRA, 15 U.S.C. §
1681 (a)(4).

Equifax willfully and/or negligently violated 15 U.S.C. § 16811 (a)(5).
In response to the request for reinvestigation, Equifax improperly
verified the account as correct, and refused to remove the inaccurate
information, in violation of the requirements of the FCRA, 15 U.S.C. §
16811 (a)}(5).

Equifax has negligently and/or willfully failed to conduct a proper
reinvestigation of the disputed information in violation of the FCRA,
15 U.S.C. §§ 16811.

As noted above, Equifax failed to conduct a proper investigation by
wholly ignoring the plain language of Plaintiffs disputes.

Equifax’s actions in violating the FCRA constituted negligent and/or
willful noncompliance with the FCRA and entitles Plaintiff to actual
damages, statutory damages, and attorney’s fees and costs as

enumerated in 15 U.S.C. §§ 1681n and/or 16810.

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i89. Equifax’s conduct was a direct and proximate cause, as well as a

substantial factor, in causing serious injuries, damages and harm to
Plaintiff as stated herein, and as a result, Defendant is liable to
compensate Plaintiff for the full amount of statutory and actual
damages, along with attorney’s fees and costs, as well as such other

relief as permitted by law.

WHEREFORE, Plaintiff prays that the Court grant the following relief in

favor of Plaintiff and against Defendant Equifax:

a)
b)
c)
d)

e)

For actual damages;

For compensatory damages;

For statutory damages;

For attorney’s fees and costs incurred in this action;

For an Order directing that Defendant immediately delete all of the

inaccurate information from Plaintiffs credit reports and files and cease reporting

the inaccurate information to any and all persons and entities to whom they report

consumer credit information; and;

f)

proper.

For such other and further relief as the Court may deem just and

COUNT Ix
VIOLATIONS OF THE FCRA
15 U.S.C. § 16811
(TRANSUNION)

190. Plaintiff incorporates paragraph 1— 61 above as fully stated herein.

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TransUnion willfully and/or negligently failed to put in place
procedures to properly reinvestigate consumer claims of inaccuracy
in credit reports.

TransUnion willfully and/or negligently ignored the information
provided to it by Plaintiff and by the results of the other credit report
investigations.

TransUnion willfully and/or negligently refused to properly
reinvestigate Plaintiffs consumer report and the errors stated.
TransUnion willfully and/or negligently violated 15 U.S.C. § 1681i(a)1.
TransUnion willfully and/or negligently violated 15 U.S.C. § 16811
(a)(4).

TransUnion negligently and/or willfully failed to properly consider
and give due weight to all relevant information submitted by Plaintiff
in the course of the reinvestigation, in violation of the FCRA, 15 U.S.C.
§ 1681 (a)(4).

TransUnion willfully and/or negligently violated 15 U.S.C. § 16811
(a)(5).

In response to the request for reinvestigation, Defendant TransUnion
improperly verified the account as correct, and refused to remove the
inaccurate information, in violation of the requirements of the FCRA,

15 U.S.C. § 1681) (a){5).

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TransUnion has negligently and/or willfully failed to conduct a proper
reinvestigation of the disputed information in violation of the FCRA,
15 U.S.C. §§ 16811.

As noted above, TransUnion failed to conduct a proper investigation
by wholly ignoring the plain language of Plaintiffs disputes.
TransUnion’s actions in violating the FCRA constituted negligent
and/or willful noncompliance with the FCRA and entitles Plaintiff to
actual damages, statutory damages, and attorney’s fees and costs as
enumerated in 15 U.S.C. §§ 1681n and/or 16810.

TransUnion’s conduct was a direct and proximate cause, as well as a
substantial factor, in causing serious injuries, damages and harm to
Plaintiff as stated herein, and as a result, Defendant is liable to
compensate Plaintiff for the full amouni of statutory and actual
damages, along with attorney's fees and costs, as well as such other

relief as permitted by law.

WHEREFORE, Plaintiff prays that the Court grant the following relief in

favor of Plaintiff and against Defendant TransUnion:

a)
b)
c)
d)

For actual damages;
For compensatory damages;
For statutory damages;

For attorney’s fees and costs incurred in this action;

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e) For an Order directing that Defendant immediately delete all of the
inaccurate information from Plaintiffs credit reports and files and cease reporting
the inaccurate information to any and all persons and entities to whom they report
consumer credit information; and;

f) For such other and further relief as the Court may deem just and
proper.

DEMAND FOR JURY TRIAL
Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

issues so triable.

Designation of Lead Counsel Pursuant to Local Rule 2.02(a)

Pursuant to Local Rule 2.02(a) of the Middle District of Florida, the
undersigned Max Story, Esquire is designated as lead counsel in this case.
Respectfully submitted this 26th day of September, 2024.

/s/ Max Story

MAX STORY, ESQ.

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